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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :
                               Complainant           :
                                                     :
                v.                                   :       Case No. 21-CR-725 (RDM)
                                                     :
JARED SAMUEL KASTNER,                                :
                                                     :
                               Defendant.            :
                                                     :
______________________________________________


         MEMORANDUM OF LAW IN SUPPORT OF JARED SAMUEL KASTNER’S
             MOTION TO SUPPRESS OUT OF COURT IDENTIFICATION

         Defendant JARED SAMUEL KASTNER (“Kastner”), through the undersigned counsel,

John L. Pierce, Esq. presents this Motion and Memorandum of Law and hereby moves the Court

and presents this Memorandum of Law in support of his motion for this Court to suppress the

Government’s erroneous mis-identification of Defendant Kastner in out-of-court video evidence.


    I.      INTRODUCTION AND OVERVIEW

         The Acting Chief of Police of the U.S. Capitol Police estimated that there were

“thousands” and in one place described the crowd as 10,000 demonstrators 1 (hundreds of whom

out of 10,000 transgressed into violent acts and are frequently called rioters) who were present

1
        In a statement by Acting Chief of the U.S. Capitol Police, found at
https://twitter.com/MikevWUSA/status/1354104955553067010/photo/1 , Yogananda D.
Pittman documents during a topic otherwise not relevant to this motion nor adopted by the Ac-
cused that the U.S. Capitol Police estimated that “tens of thousands” of demonstrators were at
the U.S. Capitol. Elsewhere Pittman estimates the crowd at 10,000. Note that this refers to peo-
ple actually at or around the U.S. Capitol. There are (as always with mass demonstrations in
D.C.) disputes about the total number of demonstrators at the Ellipse and on the Washington
Mall near the White House, etc. but hundreds of thousands were elsewhere in D.C.



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at, around, and in many cases inside the U.S. Capitol building on the early afternoon of January

6, 2021. Of the roughly 1,000 persons charged, many of them for minor charges of basically

trespassing, less than 10% of the 10,000 demonstrators present at the U.S. Capitol building on

January 6, 2021, transgressed from First Amendment demonstrating to unlawful rioting.

         In a crowd of 10,000 people, the likelihood is very high that more than one person will

appear on low-quality video (made so by the large number of people included in each scene) to

look alike, even though on closer examination they are not the same person.

         Given the low quality of video recordings (even with high quality equipment viewing

hundreds of people at once, jammed in together and jostling, so that an individual’s greatly-

magnified face on the screen may be difficult to discern) and the large quantity of people, the

presence of COVID-inspired masks, and a propensity for attendees to often wear similar clothes

suitable to the cold January day, informal styles, often from certain regions or cultures

concentrating certain kinds of clothing, active review and analysis of thousands of hours of video

actually shows in reality, not just in possibility, many people appear at first glance to be the same

person but on closer examination they are actually different people.


   II.      FACTUAL CONTEXT: DEFECTIVE PROCESS OF IDENTIFICATION

         The problem with the Government’s claims about what Kastner did on January 6, 2021,

are not questions of disputed facts to be deferred to the jury. The problem is a defective process.

         The defective procedure is for Government staff who do not know Jared Kastner to look

at poor-quality video and guess that someone they see on a video – with many wearing masks,

wearing similar clothing, or jammed into small spaces – might be someone whom they don’t

actually know in the first place.

         The Government was not having someone who knows Kastner viewing videos, but



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Government staff who don’t know the Defendant purporting to identify someone they don’t

actually know out of thousands of hours of videos.

          This is unlike any traditional identification of an accused.


   III.      GOVERNING LAW:

          The Due Process Clause requires the prosecution to prove beyond a reasonable doubt

every element of the charged criminal offense. See, In re Winship, 397 U.S. 358, 364 (1970). The

burden to prove or disprove an element of the offense may not be shifted to the defendant. See

id.; see also Patterson v. New York, 432 U.S. 197, 215 (1977).

          The test to be applied in determining whether an identification procedure is

impermissibly suggestive is whether it is "so unnecessarily suggestive and conducive to

irreparable mistaken identification as to violate the accused's due process rights." United States

v. Foster, 394 U.S. at 442 & n.2. "[I]n some cases the procedures leading to an eyewitness

identification may be so defective as to make the identification inadmissible as a matter of law."

Id. In deciding whether to exclude identification evidence, courts must examine the totality of the

circumstances. Neil v. Biggers, 409 U.S. 188 (U.S. 1972); United States v. Bagley, 772 F.2d 482

(9th Cir. 1985), cert. denied, 475 U.S. 1023 (1986). In Manson v. Brathwaite, 432 U.S. 98

(1977), the Court set forth the standards for a motion to suppress due to suggestive pretrial

identifications. The Court held that "reliability is the linchpin" in determining the admissibility of

identification testimony and applied the "totality of the circumstances" standard. Relevant factors

to be considered are: (1) the opportunity of the witness to view the criminal at the time of the

offense; (2) the witness' degree of attention; (3) the accuracy of any prior description by the

witness; (4) the level of certainty demonstrated by the confrontation; and (5) the time between

the occurrence of the crime and the confrontation. Manson, 432 U.S. at 104; Biggers, 409 U.S. at



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199- 200; United States v. Field, 625 F.2d 862 (9th Cir. 1980).

       From the time the Supreme Court recognized a due process right to exclude from

evidence tainted eyewitness identifications, the Supreme Court has looked unfavorably on

“show-up” procedures (procedures where the police show the witness a single suspect and ask

whether or not the witness can identify the suspect as the perpetrator of the crime). In Stovall v.

Denno, 388 U.S. 293 (1967), the first Supreme Court case regarding identification procedures,

the Supreme Court acknowledged that the “practice of showing suspects singly to persons for the

purpose of identification, and not as part of a lineup, has been widely condemned.” Id. at 302.

       Forty-five years later, in 2012, the Supreme Court affirmed that the police-arranged

showup at issue in Stovall was “undeniably suggestive,” but explained that the Stovall court had

upheld the procedure under the due process clause because the procedure was necessary (noting

that necessity was “crucial” to the Stovall decision). Perry v. New Hampshire, 132 S.Ct. 716,

181 L.Ed.2d 694 (2012).

       The Tenth Circuit Court of Appeals has also declared that “show-up identifications are

less than ideal” and “should be employed only if compelled by extraordinary circumstances.”

United States v. Natalini, 42 F. App’x 122, 127 (10th Cir. 2002). In other words, show-up

procedures are inherently suggestive and their use is improper unless the procedures are

necessary under the circumstances. See United States v. De Jesus-Rios, 990 F.2d 672, 677 (1st

Cir. 1993) (agreeing that in-person show-up procedure was impermissibly suggestive); Mason v.

United States, 414 F.2d 1176, 1182 (D.C. Cir. 1969) (excluding pre-trial eyewitness

identification because “[t]he showing of a single photograph is, like all identification procedures

involving a single suspect, highly suggestive”); United States v. Thomas, 981 F. Supp. 2d 229,

234 (S.D.N.Y. 2013) (“The Second Circuit has consistently condemned the exhibition of a single




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photograph as a suggestive practice, and where no extenuating circumstances justify the

procedure, as an unnecessarily suggestive one.”).

       The reason for this rule is sound: [T]he single photo or one-person show-up implies that

the police “have their man” and suggests that the witness give assent to what is already well-

known and established. Suggestibility is one of the principal ways in which memory plays tricks

and leads to improper identifications. United States v. Brown, 471 F.3d 802, 804 (7th Cir. 2006).

Avoiding the use of show-up procedures, where feasible, minimizes the risks of misidentification

that are associated with asking a victim or witness to accurately remember and identify a

stranger, who was observed only briefly, during a traumatic crime. Id.

       Prosecutors while enjoying many advantages such as nearly limitless government

resources, must also meet more compelling and strict burdens than usual for attorneys in other

context:

             In Berger v. United States, Justice George Sutherland, who was part of
             the Schechter majority, said the following about the role of the prosecu-
             tor:

                   [He] is the representative not of an ordinary party to a
                   controversy, but of a sovereignty whose obligation to
                   govern impartially is as compelling as its obligation to
                   govern at all; and whose interest, therefore, in a criminal
                   prosecution is not that it shall win a case, but that justice
                   shall be done. As such, he is in a peculiar and very defi-
                   nite sense the servant of the law, the twofold aim of which
                   is that guilt shall not escape or innocence suffer. He may
                   prosecute with earnestness and vigor-indeed he should do
                   so. But while he may strike hard blows, he is not at liber-
                   ty to strike foul ones. It is as much his duty to refrain
                   from improper methods calculated to produce a wrongful
                   conviction as it is to use every legitimate means to bring
                   about a just one. 7

Bennett L. Gershman, "Hard Strikes and Foul Blows:" Berger v. United States 75 Years After, 42
Loy. U. Chi. L. J. 177, 179 (2010). Available at:
http://lawecommons.luc.edu/luclj/vol42/iss1/8 (citing to Berger v. United States, 295 U.S.
78, 88 (1935) (emphases added).


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          Perhaps even more compelling:

              Also, there is little doubt that Justice Sutherland's articulation of the spe-
              cial obligation of the prosecutor to ensure that "justice shall be done"
              was influenced by then-Canon 5 of the Canons of Professional Ethics of
              the American Bar Association, which stated:

                    "The primary duty of a lawyer engaged in public prose-
                    cution is not to convict, but to see that justice is done. The
                    suppression of facts or the secreting of witnesses capable
                    of establishing the innocence of the accused is highly rep-
                    rehensible."

Gershman, at 194.


    IV.      ARGUMENT:

          Here, the identification of Jared Kastner out of thousands of hours of surveillance and

private video recordings were performed by some Government staff with absolutely no

knowledge of Kastner whatsoever. 2 These are not witnesses. They are not eyewitnesses. They

lack any foundation of knowledge. They were merely looking for a similarity in one video to

another video or to a photograph of someone they don’t actually know.

          Kastner was among a large crowd many of whom were similarly attired, wearing

facemasks and headgear. The facts here weigh heavily in favor of precluding any identification

testimony and an analysis of the facts at hand under the judicially required criteria amply

demonstrates the reasons for this.

          Note that the problem is with a procedure that does not pass constitutional muster for due

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        Interestingly, FBI “case agent” Dubrowski, one of several supervising the activities of
entire teams of FBI agents and other investigators, testified in the Proud Boys case United States
v. Nordean, Case No. 1:21-cr-00175, extensively about the process being followed in the review
of as many as 500,000 videos and other evidence. (Unfortunately the testimony of interest here
was scattered throughout cross-examination by many Defendants and not all in one place.) This
supports the imperfect processing and review by the FBI of these videos, many of which are still
pouring in as Defendants are already going to trial or already concluded trials.



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process. While it can be disputed as a fact question “Is that on the video Kastner or not?” first

this almost requires a witness to testify and waive his Fifth Amendment rights to deny that that

actually is him on the video. This also turns the burden of proof on its head. Kastner is

presumed to be in the videos unless he proves he is not.

        Instead, the Government must prove that Kastner actually did what they accuse, that

evidence shows that it is Kastner – not someone else – shown on videos doing this or that at

different times.

        Again, this is not the usual case by any means. While it may seem far-fetched to wonder

if two people look alike, not in a crowd of 10,000 people (as estimated by the USCP then Deputy

Chief Pittman).

        Therefore, Kastner by counsel challenges the procedure used and respectfully requires an

identification on evidentiary video that is constitutionally sufficient and reliable.


   V.      CONCLUSION

        The Defendant requests this Court to grant this Motion and such other relief as may be

deemed just. Defendant Jared Kastner, demands that any identification of him on videos be

suppressed unless where the identification is done in a constitutionally valid and persuasive

manner. Identification must at a minimum be performed by someone with first-hand, personal

knowledge of Kastner.

Dated: July 5, 2023                            RESPECTFULLY SUBMITTED,
                                                /s/ John M. Pierce
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document is being filed on this July 5, 2023, with the Clerk of
the Court by using the U.S. District Court for the District of Columbia’s CM/ECF system, which
will send an electronic copy of to the following CM/ECF participants. From my review of the
PACER account for this case the following attorneys are enrolled to receive notice and a copy
through the ECF system.

                                             /s/ John M. Pierce
                                             John M. Pierce




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